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2019 FEB ~4
IN THE UNITED STATES DISTRICT court" ITF Sb

FOR THE DISTRICT OF MARYLAND: EP PICE

DEH/LIW: USAO # 2018R00929

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UNITED STATES OF AMERICA * Tenner ae LIE PLT

*  criminaLno, ELH -19-054
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* (Unlawful Transfer and Possession of
WILLIAM E. TYLER * Machinegun, 18 U.S.C. § 922(0);

* Forfeiture, 18 U.S.C. § 924(d))

Defendant *
*
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INFORMATION
COUNT ONE

(Unlawful Transfer and Possession of Machineguns)

The United States Attorney for the District of Maryland charges that at all times relevant
to this Information: |

1. Between in or about November 8, 2017 and January 15, 2019, in the District of
Maryland and elsewhere, ‘ |

WILLIAM E. TYLER

the defendant herein, did knowingly transfer and possess machineguns, that is, a Ruger .223
caliber, model KAC556 machinegun bearing serial number 19201541 and a Ruger .223 caliber,
model KAC556 machinegun bearing serial number 19201542, in violation of Title 18, United

States Code Section 922(0).

18 U.S.C. § 922(0).
 

Case 1:19-cr-00054-ELH Document 1 Filed 02/04/19 Page 2 of 2

FORFEITURE ALLEGATION

The Grand Jury for the District of Maryland further charges that:

1. Pursuant to Rule 32.2, Fed. R. Crim. P. notice is hereby given to the Defendant
that the United States will seek forfeiture as part of any sentence in accordance with Title 18,
United States Code, Section 924(d), and Title 28, United States Code, Section 246] (c), as a
result of the Defendant’s conviction under Count One of this Information.

2. . Asaresult of the offense alleged in Count One of this Information, the Defendant,

WILLIAM E. TYLER,

shall forfeit to the United States the firearms involved in the commission of the offense, to wit,
two Ruger .223 caliber, model KAC556 machine guns bearing serial numbers 19201541 and
19201542, and the ammunition therein.

18 U.S.C. § 924(d).
18 U.S.C. § 2461(c).

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ROBERT K. HUR
UNITED STATES ATTORNEY

 
